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                           IN THE U:t'iJ"ITED STATES DISTRICT COURT
                        FOR THE  WESr  1


                                        ERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                                      )
                                                              ) Criminal No. 16-055
                   v.                                         ) Case No. 2: 16-cr-00055-DWA
                                                              ) The Honorable Donetta W. Ambr se
SIMON TUSHA                                                   )


                                            ORDER

        AND NOW, to-wit, this          y7JJ1
                                       I
                                             day of      ?lite ·               ,2018,upon
                                       I            .
consideration of Defendant Simon T u s ~ T o Continue Sentencing, it is hereby

ORDERED, that said Motion is hejby                      , ancl tkc Senteneo, HO'll sekedttled for

J &BttM} 3, 2:0i 9, is horsb~· eoRtiRHS~ URtil                       ,   2019-.-

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        IT IS FU         ER ORDERED that the extension of ti        caused by this

continuance (from the da of this ~rder, to the date          e rescheduled Sentence), be

deemed excludable delay und        the Speedy T 'al Act 18 U.S.C. § 3161 et. seq.

Specifically, the Court finds that tH I e   s of justice served by granting this continuance
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outweigh the best interest of the utilic nd the defendant to a speedy trial, 18 U.S.C. §
                                       I
3161 (h) (7) (A), since, for    e reasons state in Defendant's Motion, the failure to grant

such continuance woul deny coun11 for the De ndant reasonable time necessary for

effective preparation, taking into acLunt the exercise       due diligence. 18 U.S.C. § 3161

(h) (7) (B)(iv).




                                                 Donetta W. Ambrose
                                                 United States District Judge
